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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


Robert Poandl,                                  :         Case No. 1:12-cr-00119-1
                                                :                  (1:16-cv-00286)
               Petitioner,                      :
                                                :
        v.                                      :         Judge Michael R. Barrett
                                                :
United States of America,                       :
                                                :
               Respondent.                      :


                                  OPINION AND ORDER

        This matter is before the Court on Petitioner Robert Poandl’s Motion to Vacate

under 28 U.S.C. § 2255 and Declarations in Support of his Motion to Vacate. (Docs.

100, 106-1, 106-2, 106-3). The United States has filed a Memorandum in Opposition

(Doc. 112), to which Petitioner has replied (Doc. 113).

   I.        Prior Proceedings

        In 2012, a jury found Petitioner guilty of transporting a minor in interstate

commerce with the intent to engage in sexual activity in violation of 18 U.S.C. § 2423.

The charge stems from a trip Petitioner allegedly took on August 3, 1991. At the time,

Petitioner was a Catholic priest, and he was travelling from Cincinnati, Ohio to Spencer,

West Virginia to cover mass for another priest, Paul Fredette. David Harper, the alleged

victim, accompanied him on that trip. David Harper was then ten years old. At trial,

David’s mother, Barbara Harper, explained the relationship between the Harper family

and Petitioner, and how it came about that David accompanied Petitioner on the trip:

        Barbara Harper, David Harper's mother, testified that she and her
        husband, Mike, moved to Cincinnati in 1988 with their four children: Chris,

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      Joe, David, and Amanda. Devout Catholics, she and Mike became
      involved in Marriage Encounters, a weekend retreat program designed to
      strengthen marriages. Each Marriage Encounters group featured three
      couples and a priest. Poandl was the priest for the Harpers's Marriage
      Encounters group.

      In November 1990, Mike Harper lost his job. Because of this, during the
      spring and summer of 1991, Poandl came to their house frequently, often
      unannounced. When he came, he would often bring food, and once he
      gave the couple money to pay bills.

      Although she could not remember the “exact date,” Barbara believed that
      sometime “around August” of 1991, Poandl came by the house and told
      her that he had to cover a mass in West Virginia. She testified that Poandl
      arrived at her house before dinner, probably around 4:30 or 5:00 in the
      afternoon. Poandl asked Barbara if one of her sons could accompany him
      on the trip to keep him company and to help him stay awake at the wheel.
      She asked David, then ten years old, if he would be willing to go, and he
      initially refused. Barbara responded, “Father Bob has been so good to us,
      you know. Please go with him.” Barbara packed David an overnight bag
      and watched as Poandl and her son left. She testified that they left in a
      blue-gray sedan.

      When David returned the next morning, Barbara noticed that he did not
      look well. She asked him if he was all right, to which David replied that he
      felt sick because Poandl had given him cornflakes with lemonade for
      breakfast. He asked if he ever had to go anywhere with Poandl again;
      Barbara answered that he did not. He then ran upstairs, clearly upset.
      Weeks later, Poandl came by the house and told Barbara that he would
      not be visiting the Harpers's house anymore because none of her sons
      showed promise to be priests. It is uncontested that Marriage Encounters
      is not a recruitment program for priests.

United States v. Poandl, 612 F. App'x 356, 358 (6th Cir. 2015).

      At trial, David Harper testified that:

      Poandl took him on a trip in the late summer of 1991, around August,
      when he was ten-years-old. They left late in the afternoon or early
      evening, “probably six or five.” Poandl drove a sedan that David
      remembered him driving on other occasions. When the two arrived in
      West Virginia, they spent the night in the rectory at the church. David
      awoke at some point in the night to find that Poandl had entered his bed
      and had his hand in David's pants, fondling David's genitalia. When David
      asked what he was doing, Poandl replied that he was checking to see if
      David was wearing underwear. David fell asleep again, only to be

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         awakened later by Poandl sodomizing him. David cried out, “What are
         you doing to me?” to which Poandl replied, “We're having sex.” After
         Poandl finished, he seemed extremely remorseful and kept repeating, “I
         did a bad thing. I did a bad thing.” After regaining composure, he said to
         David, “You sinned, and I sinned, and we need to pray to God for
         forgiveness,” at which point they prayed together. David remembered
         semen running down his leg, to the point that Poandl told him that he
         should go clean himself up.

         The next day, Poandl told David repeatedly to keep to himself what had
         happened.

Id. at 359-360. David Harper testified that he did not tell anyone what had happened

until 2009. Id. at 360.

         Other witnesses at trial included Lauren Cope, David Harper's fiancée; Joseph

W. Harper, David Harper’s brother; Karen Fredette, who in August of 1991, was the

secretary of the Holy Redeemer Church where Petitioner was covering mass for Paul

Fredette; and Larry Handorf, a private investigator hired by the mission where Poandl

was based in 1991.

         After the jury found Petitioner guilty, this Court held a sentencing hearing and

sentenced Petitioner to a prison term of ninety months. This Court denied Petitioner’s

motion for judgment of acquittal and motion for a new trial. On appeal to the Sixth

Circuit Court of Appeals, Petitioner’s conviction was affirmed.

   II.      Section 2255 Claim

         Petitioner asserts that he was denied the effective assistance of counsel in

violation of the Sixth Amendment to the United States Constitution. Petitioner’s claim

can be broken down into eleven subclaims:

         a) Counsel failed to object to a substantial quantity of inadmissible, highly
            prejudicial testimony, and no conceivable strategy explains the failure
            to object;



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          b) The prosecutor mischaracterized testimony of a key witness, Karen
             Fredette, and counsel failed to object;

          c) The prosecution made defense counsel a percipient witness, and
             counsel failed to object, seek a corrective instruction, or move to
             withdraw;

          d) Counsel failed to object to an improper and highly prejudicial closing
             argument;

          e) Counsel failed to impeach Karen Fredette for bias despite being on
             notice that she had become hostile to Petitioner;

          f) Counsel made no effort to impeach the alleged victim, David Harper
             with evidence that Harper attempted to obstruct justice;

          g) Counsel failed to investigate and offer evidence that David Harper’s
             drug use and addiction could explain his belief that his allegations were
             true even if they were not;

          h) Counsel failed to enlist expert help in selecting a jury in a high profile
             case with substantial publicity surrounding priest sexual misconduct
             generally and the defendant’s case in particular;

          i) Counsel failed to monitor publicity during trial and to request the Court
             to assure that jurors were not aware of it;

          j) Counsel failed to adequately advise Petitioner of his options with
             respect to testifying and the circumstances in which the government
             might offer Federal Rule of Evidence 414 evidence; and failed to
             investigate the background of Jeffrey Allen Hutchison upon whom the
             government would have relied to present Rule 414 evidence; and

          k) Counsel was unprepared for the sentencing hearing, which is evidence
             of the inadequacy of counsel across the board.

   III.      Analysis

          A prisoner seeking relief under 28 U.S.C. § 2255 must allege either “(1) an error

of constitutional magnitude; (2) a sentence imposed outside the statutory limits; or (3)

an error of fact or law that was so fundamental as to render the entire proceeding

invalid.”    Mallett v. United States, 334 F.3d 491, 496-97 (6th Cir. 2003) (quoting

Weinberger v. United States, 268 F.3d 346, 351 (6th Cir. 2001)).


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       “In reviewing a § 2255 motion in which a factual dispute arises, ‘the habeas court

must hold an evidentiary hearing to determine the truth of the petitioner's claims.’ ”

Valentine v. United States, 488 F.3d 325, 333 (6th Cir. 2007) (quoting Turner v. United

States, 183 F.3d 474, 477 (6th Cir. 1999)). However, “no hearing is required if the

petitioner's allegations cannot be accepted as true because they are contradicted by the

record, inherently incredible, or conclusions rather than statements of fact.” Id. (quoting

Arredondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999)).

       A petitioner claiming ineffective assistance of counsel must show that his

attorney’s performance was so inadequate as to violate his Sixth Amendment rights.

Strickland v. Washington, 466 U.S. 668, 687 (1984). Strickland’s two-part test governs

claims of ineffective assistance of counsel. Under the first or “performance” prong, the

petitioner must show that his counsel’s representation “fell below an objective standard

of reasonableness.” Id. at 688. A court considering a claim of ineffective assistance

must “indulge a strong presumption that counsel's conduct falls within a wide range of

professional assistance; that is, the defendant must overcome the presumption that,

under the circumstances, the challenged conduct might be considered sound trial

strategy.” Id. at 689. Under the second or “prejudice” prong, the petitioner must show

“that there is a reasonable probability that, but for counsel's unprofessional errors, the

result of the proceeding would have been different.”         Id. at 694.    “A reasonable

probability is a probability sufficient to undermine confidence in the outcome.” Id. When

assessing prejudice, a court “must consider the totality of the evidence before the jury . .

. . [A] verdict or conclusion only weakly supported by the record is more likely to have

been affected by errors than one with overwhelming record support.” Id. at 695. If the



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defendant fails to prove either deficiency or prejudice, then the defendant's ineffective

assistance of counsel claims fail. Id. at 697.

       With those standards in mind, the Court now turns to a review of the alleged

errors identified by Petitioner.

           A. Failure to object

              1. Testimony of Lauren Cope, Barbara Harper, and Joseph Harper

       Petitioner argues counsel was ineffective for failing to object to testimony on a

number of occasions. First, Petitioner argues that it was error for defense counsel to fail

to object to certain testimony of Lauren Cope, Barbara Harper, and Joseph Harper.

Petitioner explains that the prosecutor elicited testimony from these witnesses that

would establish that David Harper made the same allegations about Petitioner to them

as he was making at trial. Petitioner argues that even though these witnesses did not

repeat the actual words David Harper said to them, this testimony was inadmissible

hearsay. Petitioner explains that David Harper was then called to testify that he made

the allegations to his fiancée, mother and brother. Petitioner argues the credibility of

David Harper’s testimony was therefore bolstered by the earlier testimony of his fiancé,

mother and brother.

       Under Federal Rule of Evidence 801(d)(1)(B), a prior statement is not hearsay if

the statement “is consistent with the declarant’s testimony and is offered . . . to rebut

and express or implied charge that the declarant recently fabricated it or acted from a

recent improper influence or motive in so testifying.” In Tome v. United States, the

Court determined a victim's statements made to witnesses were not admissible as a

prior consistent statement under Rule 801(d)(1)(B) because the statements were made



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after her alleged motive to fabricate the testimony arose. 513 U.S. 150, 160-61 115 S.

Ct. 696, 130 L. Ed. 2d 574 (1995).

       The Court finds that an analysis under Rule 801(d)(1)(B) is unnecessary. Prior to

trial, counsel for Petitioner filed a Motion in Limine seeking to bar the Government from

introducing statements David Harper made to his girlfriend and parents recounting the

alleged sexual abuse by Petitioner.        (Doc. 31).     The Government responded to

Petitioner’s Motion and stated that it “does not intend to offer any of the identified out-of-

court statements made by DH to his girlfriend or his parents through either DH’s

girlfriend or parents.” (Doc. 35).

       In addition, counsel for Petitioner successfully objected to any statements coming

in during the direct examination of Lauren Cope by the Government:

       Q. I'm going to direct your attention to the summer of 2009. Can you tell
       the jury what the status of your relationship with David was at that time?

       A. We had a falling-out at one time in the summer of 2009.

       Q. Can you tell the jury what happened that led to that?

       A. We went to dinner, and we were just having a conversation. We had --
       we were pretty serious in our relationship, had talked about the future, and
       I had brought up that I wanted kids and wanted to have a wedding in a
       Catholic church, and he seemed very standoffish.

       MR. WENKE: Objection as to what he would say, Your Honor.

       THE COURT: Ma'am, you can't testify as to what he said. You may testify
       as to his -- as to your observations of his physical appearance and what
       you did in response to anything that he would have said, but you can't tell
       the jury what he told you.

       That's called hearsay, guys, just so you know.

       Go ahead.




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      MS. MUNCY: Your Honor, for the record, she did not say he made a
      statement. She said how he appeared.

      THE COURT: I understand that, and I think the question -- I believe the
      objection was a cautionary one.

      MS. MUNCY: Thank you.

(Doc. 60, PAGEID #241-42). The Government then continued to question Lauren Cope

about the conversation between David and herself. (Id., PAGEID #242-43). At no time

did Cope testify as to any of the statements David made. Instead, Cope described

David’s appearance and the advice she gave him. (Id., PAGEID #242, 243).

      Petitioner points out that the Government argued during closing arguments that

David Harper told Lauren Cope about the accusations against Petitioner. (See Doc. 68,

PAGEID # 801) (“And ask yourselves just for a minute -- David has this conversation

with Lauren, the woman he loves that he's getting ready to marry, maybe, until she

brings up the Catholic Church, and then that puts the brakes on everything. He tells her

what happened.”). However, David Harper himself testified what he told Lauren:

       . . . So the nightmares had gotten worse, and I was getting resolved that I
      wanted to go and kill him and to make him -- to punish him for what he
      had done. And then also it just -- it kind of -- it was a Saturday evening.
      Lauren and I had gone out. We had had dinner, and somehow there was
      some conversation about getting baptized or something to that effect. I'm
      like, "There is no way I'm going to raise my kids Catholic."

      And I just said it very adamantly, and basically that and the fact that I was
      -- had -- I was basically at that point planning on killing him.

      I wanted to kind of get Lauren away from the situation, so I -- that next
      morning, I woke up and I broke up with her. And she was crying and went
      to work, she sent me texts and calling me. And I felt bad about it, and I
      felt that, you know, I at least owed her the truth to be honest with her.

      So after work, we -- I agreed to -- said we can get some dinner and talk
      about it, went to Chipotle first. I was really welled up with emotion. I



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      mean, it was -- because I was -- I decided I was going to tell her. It was
      the first person I ever told.

      And I got back -- I said I wanted to go back to my apartment. We went
      back to my apartment, and I sat on my couch and I related to her what I
      just related to you.

(Doc. 62, PAGEID # 526-27).

      Similarly, Barbara Harper was asked by the Government about conversations

she had with David Harper about Petitioner.        Counsel for Petitioner objected twice

during that testimony. (Doc. 60, PAGEID # 298-99, 299). After the second objection,

the following discussion took place during a sidebar conference:

      MR. WENKE: This gets back to our motion in limine.

      THE COURT: Right.

      MR. WENKE: And I know that she's not discussing hearsay. But, at the
      same time, at some point if David attempts to talk about this, it's still
      hearsay because just saying, telling ten different people about something
      doesn't make it more credible. It still has to fit in the exception, and it does
      --

      THE COURT: You mean if she tries to say it. David can testify as to what
      he said.

      MR. WENKE: Well, it's our position it would not unless it fits a recognized
      exception if --

      THE COURT: Why couldn't David say what he said?

      MR. WENKE: Because basically it's an attempt using a prior consistent
      statement to bolster current credibility -- pardon me, not consistent. It
      does not fit with any hearsay exception. It's our point that if he came in
      and said, "I told ten different people about this one way or the other,"
      unless I raised the issue it's not admissible as an exception.

      THE COURT: We'll have to deal with that at that time, but how can a
      statement made by the declarant be hearsay?

      MR. WENKE: It can be in the sense that, number one, if it doesn't fit an
      exception to the hearsay doctrine.

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      THE COURT: But it's not hearsay. But anyway --

      MR. WENKE: That's all right. I understand.

      THE COURT: What about the -- Christy was asking what was turned over.
      What's your objection to that?

      MR. WENKE: We believe she's going to answer that it was a firearm.
      And, once again, it's not -- it's a part of our position that this is being used
      to try to bolster credibility, so it's our position it's not relevant.

      THE COURT: The physical act of turning something over, I mean, it's
      going to be a blank in a jury's mind until somebody else testifies about it.
      And she can testify as to what he actually gave her.

      MR. WENKE: I understand.

      THE COURT: But not -- she can't say why or anything like that.

(Id., PAGEID # 299-300). Therefore, the trial transcript demonstrates that counsel for

Petitioner did object and argue that certain statements by Lauren Cope and Barbara

Harper were hearsay and irrelevant. However, the Court rejected these arguments.

      In a similar fashion, counsel for Petitioner objected several times during the direct

examination of Joseph Harper by the Government:

      Q. I want to jump ahead to 2009.

      A. Okay.

      Q. At that time, did you talk to David about what had happened in West
      Virginia?

      A. I did, yeah.

      Q. And could you describe David's demeanor when he told you what
      happened?

      A. He was absolutely devastated. I mean, he was in, I think, as bad of a
      mental condition as you would expect someone to be in those
      circumstances.



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      MR. WENKE: Objection.

      THE COURT: Sir, if you could, rather than testify to conclusions, just
      testify as to what you saw. Okay? Are you with me?

      THE WITNESS: Yes, Your Honor.

      Q. Again, just how did he behave?

      A. I mean, he was upset. I recall him crying when explaining what had
      happened. He was clearly a mixture of all sorts of emotions. He seemed –

      MR. WENKE: Objection.

      THE COURT: No, this is okay as long as you keep -- focus your testimony
      on what you saw. Keep going.

      THE WITNESS: Okay.

      A. He seemed, you know, he just seemed upset. He seemed depressed.
      He seemed on edge. I mean, I think it was -- that's how he seemed.

(Doc. 61, PAGEID #383).

      Petitioner argues that the testimony of David Harper compounded the misuse of

the hearsay testimony of Lauren Cope, Barbara Harper, and Joseph Harper. However,

at that stage in the proceedings, the Court had already ruled that the statements were

not hearsay or in response to objections by Petitioner’s counsel, had excluded

testimony which included out-of-court statements by David Harper. When determining

whether counsel’s performance was deficient, “reviewing courts must take care to avoid

‘second-guessing’ strategic decisions that failed to bear fruit.” Lundgren v. Mitchell, 440

F.3d 754, 769-770 (6th Cir. 2006) (quoting Strickland, 466 U.S. at 689). Counsel for

Petitioner attempted—both through a motion in limine and numerous objections during

trial—to prevent Lauren Cope, Barbara Harper, and Joseph Harper from testifying about

the first time David Harper revealed to them the allegations against Petitioner. While



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counsel was successful in having hearsay testimony excluded, the Court rejected

counsel’s argument that the witnesses could not describe their observations. Therefore,

under the first prong of Strickland’s two-part test, Petitioner has not established that the

performance of his counsel “fell below an objective standard of reasonableness” for

failing to object to the testimony of Lauren Cope, Barbara Harper, and Joseph Harper.

              2. Testimony of Karen Fredette

       Petitioner explains that his counsel failed to object when the prosecutor

mischaracterized testimony of Karen Fredette during redirect examination.

       Petitioner explains that the only witness who recalled seeing David Harper while

he was on the trip to West Virginia with Petitioner was Karen Fredette.           On direct

examination by the Government, Karen Fredette testified that she met Petitioner in the

Holy Redeemer Church when he arrived to cover mass for Paul Fredette. (Doc. 61,

PAGEID # 439-440). Karen Fredette was then asked:

       Q. At any time did you notice a boy?

       A. I noticed a boy sitting alone in the nave of the church about halfway
       back as I came out of the sacristy. I would be facing the nave as I walked
       out the sacristy door.

       Q. When you noticed the boy, was that before or after you had had your
       conversation with the defendant?

       A. After.

       Q. And was the boy with anyone?

       A. He was alone. I –

       Q. Why does the boy stick out to you?

       A. It's a small parish. It was a boy sitting alone that I did not recognize,
       and I believe I would have recognized most of the children in the parish,
       and this boy was unfamiliar to me.

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      Q. Did you note anything about his appearance?

      A. He was -- he looked tired or even sad. He seemed to be just slumped
      a bit in the seat.

(Id. at 443-44) (emphasis added). Petitioner argues that the Government misstated

Fredette’s statement twice on redirect examination without objection from Petitioner’s

counsel:

      Q. Is the same boy that you saw sitting alone by himself who you say
      was sad and tired, is that the same boy that was introduced by the
      defendant?

      A. Yes.

       ...

      Q. This little boy that you saw in the church sitting alone who was sad
      and tired and was introduced by the defendant, had you ever seen him
      prior to August 4th of 1991?

      A. No.

(Id. at 466) (emphasis added). Petitioner explains that his counsel then went on to

mistakenly argue in his closing argument that Karen Fredette said that “He looked sad,”

which emphasized the mischaracterization of Fredette’s testimony.       (See Doc. 68,

PAGEID #778). Petitioner argues that this testimony was important because a boy

being sad would be consistent with a boy who had been sexually assaulted.

      The Court finds that it was reasonable for Petitioner’s counsel to refrain from

objecting to this slight mischaracterization of Karen Fredette’s testimony. The Court

cannot discern a material difference between the phrase “he looked tired or even sad”

and a “boy . . . who was sad and tired.” Moreover, Petitioner has not demonstrated

how under the “prejudice” prong, “that there is a reasonable probability that, but for



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counsel's unprofessional errors, the result of the proceeding would have been different.”

Strickland, 466 U.S. at 694. Therefore, Petitioner has not established that counsel’s

failure to object to the prosecutor’s mischaracterization of Karen Fredette’s testimony

entitles him to relief under either prong of Strickland’s two-part test.

              3. Testimony of Larry Handorf

       Petitioner argues that twice during the trial, the Government sought to make his

counsel, Stephen Wenke, a percipient witness, but counsel failed to object.

       Petitioner explains that the first occasion was during the testimony of Larry

Handorf. In 2009, Handorf was hired by the mission where Petitioner was based in

1991 to investigate the allegations of sexual abuse David Harper was making against

Petitioner. (Doc. 62, PAGEID #492). Handorf testified that his interview of Petitioner

took place at Wenke’s office and Wenke was present during the interview. (Doc. 62,

PAGEID #492-93). Handorf testified that “[i]t was not a really productive interview.

Most of the interview consisted of about an hour and a half with small talk. Every time I

asked a question of Bob Poandl, his attorney would interject something, but we did

conduct an interview.”     (Doc. 62, PAGEID #493).        Petitioner argues that Handorf’s

testimony amounted to charging Wenke with obstruction of the investigation, and made

him a percipient witness to the interview. Petitioner explains that counsel did not object

to the testimony and it was repeated by the Government in closing argument.

       Petitioner explains that counsel also failed to object on the second occasion,

which was during the testimony of Douglas B. Iwold, a Green Township police officer

who stopped David Harper’s car in 2009 and found Harper in possession of marijuana.




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Petitioner argues that the Government elicited testimony from Office Iwold which would

suggest that counsel had attempted to obstruct justice:

      Q. Okay. Have you spoken with Mr. Wenke, Steve Wenke, on the phone?

      A. Yes.

      Q. Have you ever met him before today?

      A. Years ago. I've been a policeman for approximately -- I'm in my twenty-
      third year. I do recall maybe meeting Mr. Wenke maybe years ago.

      Q. How about with regard to the time that you pulled over David Harper,
      do you remember when you first spoke with him about that?

      A. It was sometime after -- obviously after the stop, I mean, maybe within
      a year or so.

      Q. Did he tell you who he represented?

      A. No. I don't recall that. To the best of my knowledge, I thought I was
      speaking to a -- and this just very well can be my opinion, but I thought I
      was talking to a private investigator. I don't recall it being an attorney, per
      se, at the time.

      Q. Do you recall Mr. Wenke telling you that he was representing a man
      who was accused of sexually assaulting the person you were after about a
      weed ticket?

      MR. WENKE: Objection.

      THE COURT: Sustained.

      Q. Did he tell you he represented Robert Poandl?

      MR. WENKE: Objection. He's already answered.

      THE COURT: Well, do you remember the conversation, sir?

      THE WITNESS: The issue is, I've had many – not many. I've had several
      conversations with Mr. Wenke since, I guess, maybe 2010 at different
      times. I recall this was something that maybe in a different state at one
      point, and that was several years ago. I remember I was supposed to get
      a subpoena, but I never did. I was just under impression this was some
      sort of a civil case.

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       There is nothing really of any importance because, being a police officer, I
       don't -- unless I'm investigating a case or I'm prepared to make a plea
       arrangement, I typically don't speak to defense attorneys. There is no
       reason to. So I -- if I did speak to him, I just wasn't under the impression
       that this was as important as it was.

(Doc. 62, PAGEID # 577-87).         Petitioner argues that this testimony was prejudicial

because the Government used the testimony to suggest that a defense lawyer would

not be attempting to obstruct justice of his client were innocent.

       While Petitioner maintains that his counsel should have objected this testimony,

Petitioner does not provide any basis for an objection.           While it may have been

prejudicial—in terms of its evidentiary value—that does not mean that it was

inadmissible evidence.      As the Sixth Circuit has explained: “[i]f evidence admitted

without objection was admissible, then the complained of action fails both prongs of the

Strickland test.” United States v. Dado, 759 F.3d 550, 565 (6th Cir. 2014) (quoting

Hough v. Anderson, 272 F.3d 878, 898 (7th Cir. 2001)). Therefore, Petitioner has not

established that counsel’s failure to object during the testimony of Larry Handorf or

Officer Iwold entitles him to relief under Strickland’s two-part test.

          B. Failure to object during closing argument

       Petitioner cites a large portion of the dissenting opinion from the direct appeal of

his conviction.   The dissenting opinion includes a discussion of the remarks of the

prosecutor during closing argument which referenced other boys and the need to

protect other children. United States v. Poandl, 612 F. App'x at 371. The dissenting

opinion also includes a discussion of the prosecutor’s statements which asked the jury

to put themselves in David Harper’s position as a ten-year old boy, which the dissent




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found to be a violation of the “golden rule.”         Id. at 372.    The dissenting opinion

concluded that the remarks were grounds for reversal. Id. at 373.

       The majority opinion addressed these same remarks. In the majority opinion, the

Sixth Circuit explained that in determining whether prosecutorial misconduct occurred, it

employs a two-step analysis: “First, we determine whether the statements were

improper.”   Id. at 365 (quoting United States v. Boyd, 640 F.3d 657, 669 (6th Cir.

2011)). “Second, we ask whether the remarks were so flagrant as to warrant reversal.”

Id. The court concluded that the prosecutor’s comments were not flagrant. Id. at 366-

67. The court then explained:

       If a comment is determined not to be flagrant, we will reverse only when:
       “(1) the proof against the defendant was not overwhelming; (2) opposing
       counsel objected to the conduct; and (3) the district court failed to give a
       curative instruction.” Johnson, 525 F.3d at 485. Poandl admits that he did
       not object to any of the statements he challenges. His argument that his
       conviction must be reversed because it was premised on prosecutorial
       misconduct therefore fails.

Id. at 367. Petitioner argues that counsel should have objected to the statements, and

that the failure to object led to the majority’s holding that it could not reverse Petitioner’s

conviction based on these same comments.

       The Sixth Circuit has explained that under Strickland, a failure to object to a

prosecutor's comments does not fall below an objective standard of reasonableness

unless the comments constituted prosecutorial misconduct. Reed v. United States, 133

F. App'x 204, 208 (6th Cir. 2005) (citing Cook v. Stegall, 56 F.Supp.2d 788, 794

(E.D.Mich. 1999) (“Having found no [prosecutorial misconduct], we fail to see how

defense counsel's failure to object was either deficient or prejudicial to the defendant's

case.”)); Donaldson v. United States, 379 F. App'x 492, 493 (6th Cir. 2010) (“As we



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have already rejected Donaldson's contention that his trial was marred by prosecutorial

misconduct, Donaldson cannot demonstrate that his counsel's failure to object to the

prosecution's actions in any way prejudiced his defense, and so cannot meet the

second Strickland prong.”).

        However, even assuming, arguendo, that counsel’s performance was deficient

for failing to object, the Court finds that Petitioner is not able to show that “there is a

reasonable probability that, but for counsel's unprofessional errors, the result of the

proceeding would have been different.” Strickland, 466 U.S. at 694, 104 S.Ct. 2052.

        Petitioner is only entitled to habeas relief if the statements were “so flagrant as to

render the entire trial fundamentally unfair.” Reed, 133 F. App'x at 210 (quoting Hicks v.

Collins, 384 F.3d 204, 219 (6th Cir. 2004)).                Four factors are considered in this

determination: “(1) the likelihood that the remarks would mislead the jury or prejudice

the accused; (2) whether the remarks were isolated or extensive; (3) whether the

remarks were deliberately or accidentally presented to the jury; and (4) whether other

evidence against the defendant was substantial.” Id.

        As the dissent in Petitioner’s direct appeal explained, cases involving sexual

abuse “typically turn on the relative credibilities of the defendant and the prosecuting

witness.” 612 F. App'x at 369 (quoting Martin v. Parker, 11 F.3d 613, 616-17 (6th Cir.

1993)). 1 The dissent also explained: “Given that Poandl challenged Harper's credibility

extensively throughout trial, it was proper for the government to address David Harper's

credibility and motivation.” Id. at 371. However, the dissent noted that the prosecutor’s


        1
         The Court refers to the dissenting opinion heavily in its discussion of this issue because
Petitioner did not provide much in the way of independent argument, but instead included a quote which
contains almost the entire dissenting opinion in the section of his Motion addressing this argument. As
such, the Court assumes Petitioner is adopting the points made by the dissenting opinion as his own.

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comments about other children were not limited to discussions about David Harper’s

credibility, but “were part of a broader argument about Poandl's alleged custom of

bringing boys on trips and the insinuation that he abused them, as well.” Id. However,

the Court notes that it was Petitioner himself who admitted during his interview with the

investigator Larry Handorf that he took boys on trips out of state. During trial, Handorf

was asked by the Government:

       . . . Okay. Did you ask him about taking boys on trips out of state?

      MR. WENKE: Objection.

      THE COURT: Basis.

      MR. WENKE: Relevance.

      THE COURT: Overruled.

      THE WITNESS: Oh, overruled. I'm sorry.

      THE COURT: You can answer the question if you remember.

      A. Yes, I did.

      Q. And what was his response?

      A. They would help him stay awake, and they would have a Catholic
      experience.

      Q. So he would take boys out of state with him?

      A. Yes.

(Doc. 62, PAGEID #495-96). More importantly, Petitioner admitted to Handorf that he

took David Harper on a trip:

      Q. Now, did you have a chance to ask Father Poandl about taking David
      Harper to or out of state?

      A. Yes, sir, I did.



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        Q. And what was his response?

        A. That he vaguely remembered taking David somewhere out of state, but
        didn't think it was Spencer, West Virginia.

(Doc. 62, PAGEID #494).

        David Harper himself does not remember every detail of that trip.                  At trial,

Petitioner’s counsel attempted to undermine David Harper’s credibility by demonstrating

that his memory of the trip was faulty. Evidence was presented showing that there were

inconsistencies in David Harper’s testimony about the day on which the trip may have

occurred, the time of day he left on the trip, and the weather during the evening of the

trip.   In her closing argument, the prosecutor recounted this evidence, including

evidence presented by Petitioner’s counsel that the church in Spencer had undergone

renovations after 1991, which called into question David Harper’s recollection of the

interior of the church. 2 This led to the comment in closing argument by the prosecutor

which the dissenting opinion in Petitioner’s direct appeal found improper and flagrant:

        And do you remember David saying that The Holy Redeemer Church as
        he saw it in 2009 was 100 percent the same? Because he didn't. 3

        2
         David Harper also testified that he had not been inside the rectory next to the Holy
Redeemer Church since he spent the night there in 1991. (Doc. 62, PAGEID # 509). Later, in
2012, David Harper drew a layout of the bedroom where the alleged sexual assault occurred.
(Id. at PAGEID #510). During the testimony of Paul Fredette, photos of the bedroom were
introduced which matched the drawing of David Harper. (Doc. 61, PAGEID # 406).
        3
        On cross-examination David Harper was asked by Petitioner’s attorney about the time
in 2009 when he went back to the Holy Redeemer Church:

        Q. Okay. And you looked around the church; right?

        A. I did look -- I looked at the house from the outside, but we did walk through the
        church and it was exactly as I remembered it.

        Q. That's what I was getting to. You said to the officer it was exactly as you
        described it, it was basically 100 percent certain that that was the exact same
        church.


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      This church that evidently went from looking like a bowling alley that you
      would not recognize at all, according to Paul Fredette, who the last time
      he stepped foot in that place was in 1992, said it was substantially the
      same. 4

      And think about when you were ten. What stuck out to you if you were
      somewhere? Would it be whether or not a wall was ten feet this way or


      A. I am a hundred percent certain that is the exact same church, because he
      raped me.

(Doc. 62, PAGEID #549).
      4
       Paul Fredette testified:

      Q. So with regards to the cross, that was there in 1991?

      A. Yes, sir, it was.

      Q. And you say the window was not?

      A. That is correct.

      Q. The rafters the same?

      A. The rafters are the same. The decorations that appear to be paintings or
      something like that, those were not there.

      Q. Okay. The organ was roughly in the same place?

      A. That is correct, sir.

      Q. And you said there were some changes to the altar. Has that been moved?

      A. Well, like I said, the whole wall has been pushed back. So the sanctuary -- but
      the actual arrangement of the sanctuary isn't much different, but the actual
      furnishings, I don't – I can't recall. I don't think they are the exact same ones that
      were there.

      Q. But it looked substantially the same as you remember it in 1991?

      A. Yes, looks substantially.

      Q. Including the Christ on the cross?

      A. Yes. The crucifix is the same one.

(Doc. 61, PAGEID # 422-23).

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      five feet that way, or would it be the exact same crucifix that had been
      there when you saw it as a child and the rafters that stuck out?

      More importantly, would it be the room that you were raped in? Would that
      be what you remember?

      Would the fact that a grown man who your mother and your father taught
      you to trust and taught you to obey, would you remember those details?

(Doc. 68, PAGEID # 805-806).

      While David Harper may have been inconsistent on some minor details, David

Harper’s credibility was not questioned on two important details. First, he remembered

going on a trip into another state with a priest. Second, he remembers being sexually

assaulted by the priest while he was on that trip. Because David Harper was the only

one who testified about the sexual assault, his credibility about the sexual assault was

based on his testimony and demeanor while testifying.        However, when it came to

remembering the trip and the priest, he was not alone.

      As recounted above, Petitioner himself admitted to Handorf that he “vaguely

remembered taking David somewhere out of state.” (Doc. 62, PAGEID #494).

      Karen Fredette remembers Petitioner bringing a boy with him when he covered

the mass at the Holy Redeemer church. (Doc. 61, PAGEID # 443). Karen Fredette

recorded the visit from Petitioner in the church’s bulletin, dated August 4, 1991: “A

hearty welcome to Father Robert ‘Bob’ Poandle from Glenmary headquarters who will

be celebrating Sunday liturgy with us today. Many thanks for coming, Father.” (Doc.

61, PAGEID # 439). Fredette remembers Petitioner acknowledging the boy who was

with him during his homily and asking the church to “give him a round of applause, be

grateful to him for having traveled with Father to the parish during the night to keep him

awake.” (Id. at PAGEID # 444).

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        In addition, David Harper’s brother, Joseph Harper, recalled Petitioner coming to

their house looking for someone to go on an overnight trip with him. (Doc. 61, PAGEID

# 375-76). Joseph refused to go, but he remembers David going instead because he

“was younger and, I think, a little more agreeable.” (Doc. 61 at PAGEID # 375). Joseph

does not remember the time of day when David left or returned. (Id. at PAGEID # 375).

Instead, Joseph testified:

        but I do recall, because I was, you know, I was a 13-year-old boy, I
        remember asking him if he had a good time. And my motivation for doing
        that was that I was his older brother, and I wanted to make sure that he
        had a bad time and he didn't enjoy himself. I would have been jealous if
        he had a wonderful trip and great time in West Virginia.

(Id.)

        Finally, David Harper’s mother remembered Petitioner taking David on a trip.

Petitioner was not a stranger to the Harper family. Barbara Harper explained that they

knew Petitioner though Worldwide Marriage Encounter, which was a Catholic

organization in which married couples shared information about their “marriage, about

communication, finances, our spirituality, our sexuality.” (Doc. 60, PAGEID #269). This

sharing would take the form of a “trialogue” with Petitioner in which Barbara Harper and

her husband would share their feelings in love letters to each other, which were in turn

shared with Petitioner. (Id. at PAGEID #270). Barbara Harper testified that Petitioner

often came into their home, and when her husband lost his job, Petitioner gave them

$800.    (Id. at PAGEID #275, 278-79).      Barbara Harper recalls that not long after

Petitioner gave them the money, Petitioner came to the house asking if one of the boys

could accompany him on a trip to West Virginia to help keep him awake.             (Id. at

PAGEID #280-81). Barbara Harper recalls asking David to go:



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        . . . I asked Dave to go, and he said no. He said he didn't want to go.
       And I said, I said, "Father Bob has been so good to us, you know. Please
       go with him. It'll be okay, Dave. You'll be home tomorrow, and everything
       will be all right."

(Id. at PAGEID #283). Barbara Harper recalls that David then “went up and packed a

little bag, and I walked him out to the car and gave him a hug. Joe walked out with us

too, put him in the car.” (Id. at PAGEID #284). Barbara Harper specifically testified that

she trusted Petitioner to take David on the trip to West Virginia:

        . . . Did you receive a phone call later that evening saying they made it
       safely?

       A. No. But, you know, I didn't expect one. I mean, he told me they were
       going to get in late, and I trusted him. I thought he was in great care, so I
       didn't expect one. Nobody had cell phones.

(Doc. 60, PAGEID # 285).

       Barbara Harper explained that when Petitioner returned with David the next day,

they came into the house:

       . . . Initially, Bob was talking to my husband in the living room, and I know I
       was with David alone in the kitchen. I – he didn't look well, and I asked
       him, I said, "Well, you know, what's wrong? Is your stomach upset or
       something?"

       And he said, "Yeah." He said, "He gave me cornflakes with lemonade on
       it for breakfast."

       And, you know, I mean, as a mother, I'm thinking: You give him cornflakes
       and you give lemonade. You don't put it on the cereal.

       But that was my thought. He said he didn't feel good. I thought: Well, I
       can understand you don't feel good.

       You know, I asked him -- he looked tired. I said, you know, "Did you sleep
       well?" And he said, "No, I didn't sleep well."

       And he was standing by the hallway by our refrigerator. We had an old
       Cape Cod house, and you could go from the hallway to the living room to
       the dining room to the kitchen. And only Dave and I were in the kitchen.

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       He was standing by the refrigerator door almost at the hallway to go out,
       and he asked me if he ever had to go with Father Bob again. And I told
       him no, that he did not have to go with him again. And then he ran
       upstairs.

(Id. at PAGEID #286-87).

       The Court concludes that even if Petitioner was able to establish his counsel’s

failure to object to the prosecutor’s remarks in closing arguments “fell below an

objective standard of reasonableness,” the record does not establish that but for

counsel's unprofessional errors, the result of the proceeding would have been different.

For the most part, the prosecutor’s remarks identified by Petitioner were based on

testimony in the record. Therefore, the likelihood that these remarks would mislead the

jury or prejudice the accused was low. The majority opinion in Petitioner’s direct appeal

found that the prosecutor’s remark which asked the jury “to show the same courage” as

David Harper “blurs the line between connecting the point to the victim and asking the

jury to identify with the victim.” 612 Fed. Appx. at 366.    However, the court found the

remark was isolated. 612 Fed. Appx. at 366.

       Moreover, putting the comments of the prosecutor aside, the other evidence

against Petitioner was substantial. Petitioner did not present any evidence which would

question David Harper’s memories of the sexual assault. Therefore, his credibility as to

those events depended upon what the jurors saw when he testified: what words he

used, the emotion in his voice, and the hand gestures he used in re-telling what

happened.    Petitioner did not question that testimony at trial.       Instead, Petitioner

questioned David Harper’s memory of the trip he took out of state with Petitioner. While

there was evidence that he did not remember every detail of the trip correctly, there was

substantial evidence that Petitioner took him on the trip. Petitioner himself recalls taking

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David Harper on a trip and explained that he had a practice of taking boys on trips to

help him stay awake. Karen Fredette remembers Petitioner bringing a boy with him to

the Holy Redeemer Church, and asking the church during his homily to “be grateful to

him for having traveled with Father to the parish during the night to keep him awake.” In

addition, Joseph Harper remembers David going on the trip with Petitioner. Finally,

Barbara Harper remembers pleading with David to go on the trip with Petitioner

because Petitioner had “been so good to us.” Barbara Harper also remembered David

returning from that trip, not feeling well, looking tired, and asking if he ever had to go

with Petitioner again. Therefore, the Court concludes that even assuming, arguendo,

that counsel’s performance was deficient under the first part of Strickland’s two-part

test, under the second part of the test, there is not a reasonable probability that, but for

counsel's unprofessional errors, the result of the proceeding would have been different.

          C. Failure to impeach witnesses

              1. Karen Fredette

       Petitioner argues that his counsel was ineffective because he failed to impeach

Karen Fredette for bias despite being on notice that she had become hostile to

Petitioner. Petitioner relies on the Declaration of Anita Harold Ashley, who represented

Petitioner in an earlier, related criminal proceeding in state court in West Virginia. (Doc.

106-2). Ashley explains that she and her co-counsel notified Petitioner’s counsel in the

federal proceedings, Stephen Wenke, that Karen Fredette “appeared to be hostile”

towards them because they had successfully moved to compel Fredette to produce her

diaries in preparation for trial. (Ashley Decl., PAGEID #: 1396). Petitioner claims that

this resulted in Karen Fredette having strong bias against him. Ashley explains she and



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her co-counsel informed Wenke of the strategy they had formulated “to deal with

[Fredette’s] cross-examination, focusing primarily on her anger at the mandatory

disclosure and her statement to Sgt. Swiger that she could not remember whether any

child accompanied Poandl to West Virginia and that she could not go on the witness

stand to swear that a child had been here.” (Ashley Decl., PAGEID #1396). Petitioner

explains that despite this advice, his counsel never explored this bias during the federal

trial.

         However, counsel did extensively cross-examine Fredette, questioning her

memory about Petitioner’s visit and whether he brought a boy with him. For example,

on cross-examination, counsel for Petitioner asked:

         Q. When you were first contacted about this case back in 2009, you could
         not remember Bob Poendl [sic] coming?

         A. No. I had been away. This was about 18 years, and it was a name of
         someone I met once. I didn't recall it until I saw it in my journal.

(Doc. 61, PAGEID #449). Counsel for Petitioner also asked:

         Q. You said -- actually, I want to go back. When you were first contacted,
         you said you could not get up on the stand and testify that Father Poandl
         had brought a boy with him.

         A. At that time, I couldn't. But when I -- I did remember that a priest had
         brought a child with him, and which priest it was -- when I realized the
         three priests in question would have been Father Jim DuPont, Father Jim
         Kelly or Father Bob Poandl, I knew it was neither of the first, neither of
         Father Jim nor Father DuPont.

         Q. I actually think you had said to the F.B.I. that the reason you knew that
         Father Poandl had brought him is you went back through your diary and
         you saw that Jim Kelly and Jim DuPont both did not have any mention of a
         boy. You used your diary --

         A. Yes.




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       Q. Okay. So by that process of elimination, by not having it written in the
       diary that they had brought a boy, that's where you landed on Father
       Poandl.

       A. No. I knew these priests well, and I would have remembered if either of
       them had brought a boy. The only priest who brought a boy was Father
       Poandl.

(Doc. 61, PAGEID # 452-53).

       The Court concludes that counsel's questioning falls within “the wide range of

reasonable professional assistance.”      Strickland, 466 U.S at 689.        Under the

circumstances, choosing to avoid asking Fredette questions about being compelled to

produce her diaries “might be considered sound trial strategy.” Id.       As a practical

matter, the Court had ruled that the parties were not permitted to mention the West

Virginia proceedings. (Doc. 66, PAGEID #664). That very issue came up at a sidebar

conference with the Court during the cross-examination of Karen Fredette. (Doc. 61,

PAGEID #460). Ashley, who represented Petitioner in the West Virginia proceedings,

did not have the same constraints, and perhaps it would have been sound trial strategy

in those proceedings to attempt to show Fredette’s bias. Moreover, as the Supreme

Court has recognized: “There are countless ways to provide effective assistance in any

given case. Even the best criminal defense attorneys would not defend a particular

client in the same way.” Strickland, 466 U.S at 689. Therefore, Petitioner has not

established that counsel’s failure to attempt to impeach Karen Fredette for bias entitles

him to relief under Strickland.

              2. David Harper

       Petitioner claims that counsel was ineffective for failing to impeach David Harper

with evidence the Harper had attempted to obstruct justice. Petitioner explains that his



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counsel was aware that the criminal proceeding against him in West Virginia was

dismissed because of misconduct by David Harper with respect to document

production. However, the Court notes that Petitioner quotes and relies upon a finding of

the West Virginia court’s order which was later withdrawn by the court. (See Doc. 106-

2, PAGEID # 1414) (“The affidavit of Nicole M. Roesel (STATE’S EXHIBIT A) reveals

that it was Ms. Roesel and not David Harper who deleted certain records from Family

Medical Group. To the extent that the Court found in paragraph 12 of the findings of

fact that David Harper deleted records which he did not wish to disclose from Family

Medical Group, such finding is in error.”). Moreover, as explained above, the Court had

already prohibited the parties from mentioning the West Virginia proceedings.

Therefore, Petitioner has not established that counsel’s failure to attempt to impeach

David Harper entitles him to relief under Strickland.

       D. Failure to investigate

       Petitioner explains that David Harper admitted at trial that he used marijuana and

LSD in high school, that he used cocaine and marijuana in college, and that he was

addicted to oxycodone until 2009, the year he first made allegations against Petitioner.

Petitioner argues that a “cursory examination through an Internet search of the effects

of LSD on a user would have revealed the possibility that David Harper invented his

claim” against Petitioner. (Doc. 100-2, PAGEID #1358). Petitioner argues that counsel

should have explored whether Harper’s drug use “could have caused Harper to

hallucinate and develop delusions about a rape that never occurred.” (Id., PAGEID #

1359). Petitioner suggests that counsel should have elicited testimony about the effects

of LSD and opioid use from Harper himself because he is a pharmacist. Failing that,



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Petitioner argues that counsel should have presented an expert witness to testify about

the possible significance of David Harper’s drug use. Petitioner has presented the

Declaration of Joe Maher, president of Opus Bono Sacerdotii, which is an organization

which has experience assisting priests who have been charged with sexual misconduct.

(Doc. 106-3). Maher states that his organization offered to assist Petitioner and his

counsel. (Id., PAGEID # 1433).

       Counsel for Petitioner conducted an extensive cross-examination of David

Harper, asking multiple questions about his drug use in an attempt to question his

credibility. (Doc. 62, PAGEID # 539-548). Moreover, it would have been an unusual

strategy to qualify David Harper, the victim of the crime, as an expert to impeach his

own testimony.     Therefore, Petitioner has not established that counsel’s failure to

attempt to investigate and question David Harper about the effects of his past drug use

entitles him to relief under Strickland.

       E. Failure to enlist expert help

       Petitioner maintains that his counsel should have sought expert assistance on

issues related to jury selection, Petitioner’s decision to testify, protecting jurors from

prejudicial publicity, and the importance of presenting evidence to explain a motive for a

false allegation. Petitioner argues that his counsel could have consulted with Opus

Bono Sacerdotii.    Petitioner also argues that his counsel could have used the jury

questionnaire prepared by Ashley to screen jurors who had heard national publicity

about scandals involving Catholic priests. (See Doc. 106-2, PAGEID # 1420). In her

Declaration, Ashley explains that she provided Petitioner’s counsel with a copy of the

questionnaire. (Doc. 106-2, Ashley Decl., PAGEID #1397).



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        The Court notes that it is “all too tempting for a defendant to second-guess

counsel's assistance after conviction or adverse sentence, and it is all too easy for a

court, examining counsel's defense after it has proved unsuccessful, to conclude that a

particular act or omission of counsel was unreasonable.” Strickland, 466 U.S. at 689.

Petitioner has not pointed to any specific errors on the part of counsel which could have

been remedied through the use of an expert. While Petitioner has provided the Court

with the questionnaire developed for use in the proceedings in West Virginia, this Court

informed the parties in the Final Pretrial Conference that it permits wide latitude in voir

dire:

        In terms of the jury selection itself, again, that's fairly wide open. I just try
        to get them talking by asking general questions on the usual topics. I also
        cover all of the hardship-type stuff myself so you guys don't have to ask
        those questions to them. I let you guys do pretty much what you want to
        do. (Doc. 91, PAGEID #1083).

        There's no time limitation on voir dire as long as you keep them interested.
        If they start getting bored, I'll let you know. Because if I'm bored, they're
        bored; right? Okay.” (Doc. 91, PAGEID #1086).

As a result, it was reasonable for Petitioner’s counsel to find the questionnaire

unnecessary. Moreover, many of the questions on the questionnaire were asked of the

panel. In addition to asking questions about scheduling or whether the potential jurors

knew any of the parties, their attorneys, or the potential witnesses, this Court specifically

addressed media attention:

        This particular case has had some media attention. There have been a
        couple of -- I think a couple of newspaper articles written. There may
        have been some things on television. I really don't know. But here's what
        I want to say about that. Okay?

        If anybody has seen anything about the case, I want you to understand
        that what you have seen about the case is not allowed to influence your
        deliberations in the case.

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(Doc. 81 SEALED, PAGEID #910). The Court then provided a specific example. (Doc.

81, SEALED, PAGEID #911).           In its questioning, the Government asked whether

anyone had heard Petitioner’s name in a media report. (Doc. 81, SEALED, PAGEID #

929). The Government also asked if anyone had heard news reports of “abuse in the

Catholic Church” and whether that would prevent them from being fair and impartial.

(Doc. 81, SEALED, PAGEID #954). The Government also asked whether any one on

the panel knew someone who has been a victim of a sexual assault.                 (Doc. 81,

SEALED, PAGEID #955).          Counsel for Petitioner followed up and asked whether

anyone would test credibility differently because there is an accusation of sexual abuse.

(Doc. 81, SEALED, PAGEID #971-72). Counsel also questioned the potential jurors

whether they could not be fair because they would be “emotionally driven one way or

the other.” (Doc. 81, SEALED, PAGEID #977). Petitioner has not identified any specific

questions which counsel should have asked, or what prejudice the omitted questions

caused. Therefore, Petitioner has not established that counsel’s failure to use an expert

such as Opus Bono Sacerdotii or the jury questionnaire prepared by his West Virginia

counsel entitles him to relief under Strickland.

       F. Failure to monitor publicity

       Petitioner claims that his counsel did not monitor publicity during trial and did not

ask the Court to assure that jurors were not exposed to it. The Court notes that during

voir dire, the Court told the potential jurors: “if during the course of the case there's an

article or a report or anything like that and you see it coming, just tune it out, ignore it,

leave the room, turn off the television, don't read that article in the paper.” (Doc. 81,

SEALED, PAGEID #915-16).          Moreover, the Court gave a similar instruction to the



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jurors throughout the trial. (See, e.g., Doc. 62, PAGIED # 580). Therefore, it was not

unreasonable for counsel for Petitioner to refrain from making an additional request to

address media attention with the jurors.          Petitioner is not entitled to relief under

Strickland on this basis.

       G. Failure to adequately advise

       In his Declaration, Petitioner claims that counsel failed to adequately inform him

of either the strengths or the risks of testifying on his own behalf, or the circumstances

under which the Government might offer evidence under Federal Rule of Evidence 414.

(Doc. 106-1).

       Before trial, the Government filed a Notice of Intent to Introduce Evidence of

Defendant’s prior Child Molestation Offenses pursuant to Federal Rule of Evidence 414

for Limited Purposes. (Doc. 39). Petitioner was informed that there were allegations

that Petitioner sexually abused two other boys in 1981 and 1984. (Id.) This issue was

raised again by the Government on the first day of trial. (Doc. 66, PAGEID # 664-66).

The Government stated that it did not intend to seek to use the Rule 414 evidence in its

case-in-chief, but “if certain evidence is elicited or testimony is elicited that goes to the

character of the defendant or that these allegations do not exist, that we would

introduce it for the purposes of rebuttal, cross-examination or some other purpose.”

(Doc. 66, PAGEID # 664).

       Petitioner claims that counsel never explained the meaning of the prosecutor’s

statement to him. Petitioner also states that counsel failed to seek a ruling from the

Court as to whether the Court would admit any Rule 414 evidence if Petitioner testified

and simply denied David Harper’s charge. Petitioner also argues that counsel failed to



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investigate the background of Jeffrey Allen Hutchison, who the government presented

as one of the two additional victims of sexual abuse by Petitioner and a potential

witness under Federal Rule of Evidence 414.

       The Sixth Circuit has held that it is not objectively unreasonable for counsel to

make a strategic decision to advise the defendant not to testify because counsel

predicted that the value of his testimony would be outweighed by the damage of

impeachment testimony. Goldy v. Tierney, 345 F. App'x 169, 173 (6th Cir. 2009). The

court reached this conclusion even though the trial court had not ruled on the

admissibility of the impeachment evidence.      Id.   The court explained there was a

reasonable probability that the court would not admit the evidence, but there was also a

reasonable probability that the court would admit the evidence. Id. The court explained

that under the circumstances, “[c]ounsel's strategy choice was well within the range of

professionally reasonable judgments,” Strickland, 466 U.S. at 699, 104 S.Ct. 2052, and

[the petitioner] has not overcome the presumption that his attorney's decision was

sound trial strategy.” Id.

       Here, there was a reasonable probability that the Court would have permitted the

introduction of the evidence of the allegations of the two other victims.       Rule 414

provides: “In a criminal case in which a defendant is accused of child molestation, the

court may admit evidence that the defendant committed any other child molestation.”

Fed. R. Evid. R. 414(a). As the Sixth Circuit has explained:

       Rule 414(a) reflects congressional recognition that prior acts of sexual
       misconduct involving children, including possession of child pornography,
       are probative to show an offender's propensity for committing a similar
       charged offense. The greater the similarity of the prior acts to the charged
       offense, the greater the probative value.



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United States v. Trepanier, 576 F. App'x 531, 534 (6th Cir. 2014) (citing United States v.

Seymour, 468 F.3d 378, 385 (6th Cir. 2006)).

       The Government explained in its Rule 414 Notice:

       At trial, the United States may seek to introduce evidence of defendant’s
       sexual molestation involving two approximately ten year old boys over a
       time period beginning in approximately May, 1981 through May, 1984.
       Specifically, in 1981, defendant caused Minor Child 2, a male child
       approximately 10-12 years of age, to undress. The defendant fondled the
       child’s genitalia while the child was in the bathtub. Additionally, in or prior
       to May, 1984, defendant caused Minor Child 3, a male child approximately
       10-11 years of age, to become in a state of undress while the child slept.
       Upon waking, the child had been undressed by the defendant and the
       defendant was or had been performing oral sex on the child.

       The defendant became aquatinted with the parents of Minor Child 2 and 3,
       in addition to DH (the child subject of the instant offense) through his
       participation in Worldwide Marriage Encounters. Marriage Encounters is a
       program affiliated with the Catholic Church. The defendant is a priest with
       Glenmary Home Missioners, located in Fairfield, Ohio. The defendant, in
       each instance of alleged molestation, asked the parents’ permission for
       their sons to spend the night with him. Each of the instances of
       molestation took place in the rectory of a church and/or a church itself.

(Doc. 39). The Court finds that based on the similarity of these acts, the Court finds it

reasonable for counsel for Petitioner to make a strategic decision to advise the

defendant not to testify. 5 The value of Petitioner’s testimony would be outweighed by

the damage caused by this evidence. Therefore, Petitioner has not shown that he is

entitled to relief under Strickland on this basis.




       5
         The Court notes that before the commencement of trial, counsel for Petitioner did
question the retroactive application of Rule 414. (See Doc. 66, PAGEID # 665). However,
courts have “rejected similar ex post facto challenges to the retrospective application of new
laws that permit the introduction of evidence of prior sexual misconduct to establish the
offender's propensity to commit the charged offense, on the ground that such laws do not lower
the quantum of evidence or burden of proof required to sustain a sexual misconduct conviction.”
See Miracle v. Haas, No. 2:15-CV-10562, 2016 WL 1583807, at *5 (E.D. Mich. Apr. 20, 2016)
(collecting cases).

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         H. Failure to prepare for sentencing hearing

         Petitioner argues that his counsel was not adequately prepared for the

sentencing hearing.      At the sentencing hearing, the Government introduced the

testimony of Jeffrey Allen Hutchison, who alleged that he was sexually abused by

Petitioner. Petitioner points out that counsel did not investigate Hutchison and had not

spoken to Petitioner about Hutchison’s allegations, and therefore his counsel was

unprepared to cross-examine Hutchison at the sentencing hearing. Petitioner argues

that as a result he was denied ineffective assistance of counsel at sentencing, and the

inadequate performance of counsel at sentencing corroborates his overall claim that he

received ineffective assistance of counsel at trial.

         However, even if counsel’s lack of preparation was so deficient as to violate the

Sixth Amendment under the first prong of the Strickland test, Petitioner has not

demonstrated that this alleged deficiency prejudiced the outcome of the sentencing

hearing.    At the most, the cross-examination of Hutchinson would have called into

question the credibility of his testimony. However, without more, even that outcome is

based on speculation. In addition, this Court is not persuaded that a lack of preparation

at the sentencing hearing would establish that counsel’s performance at trial fell below

an objective standard of reasonableness. Therefore, Petitioner has not shown that he is

entitled to relief under Strickland on this basis.

   IV.      Conclusion

         Pursuant to 28 U.S.C. § 2255(b), the Court determines that the motion and the

files and records of the case conclusively show that Petitioner is not entitled to relief.

Therefore, a hearing is not necessary to determine the issues and make the findings of



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fact and conclusions of law with respect thereto. Accord Smith v. United States, 348

F.3d 545, 550-51 (6th Cir. 2003). The claims raised are conclusively contradicted by

the record and the law of the Sixth Circuit and the United States Supreme Court.

Accordingly, Petitioner’s Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence (Doc. 100) is hereby DENIED.

         Further, the Court will not issue a certificate of appealability.   The Court

concludes that none of the claims raised by Petitioner in his motion, which have been

decided on the merits, are debatable among reasonable jurists, could be resolved

differently on appeal or are adequate to deserve encouragement to proceed further.

Slack v. McDaniel, 529 U.S. 473, 483-84 (2000) (citing Barefoot v. Estelle, 463 U.S.

880, 893 & n.4 (1983)). In addition, Petitioner has not made a substantial showing of

the denial of a constitutional right. See 28 U.S.C. § 2253(c); see also Fed. R. App. P.

22(b).

         IT IS SO ORDERED.

                                                      /s/ Michael R. Barrett
                                                MICHAEL R. BARRETT, Judge
                                                United States District Court




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